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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NORTH DAKOTA


Jessica Allen, individually and on behalf of   ) Civil No. 3:22-CV-93 (PDW/ARS)
the heirs at Law of Lacey Higdem,              )
                                               )
                                Plaintiff,     )
                                               )     PLAINTIFF’S MOTION TO
 vs.                                           )       UNSEAL DOCUMENTS
                                               )
Myles Brunelle, in his individual capacity;    )
April Azure, in her individual capacity;       )
Rolette County; Roy Cordy, MD; and             )
Presentation Medical Center,                   )
                                               )
                                Defendants.


       Plaintiff Jessica Allen, individually and on behalf of the heirs at law of Lacey

Higdem, hereby moves the Court to unseal the following documents pursuant to Federal

Rule of Civil Procedure 26(c) and the Scheduling Order, see Dkt. 32.

       1.    A true and correct copy of video file 1797, see Exhibit 27 to the Declaration

             of Andrew J. Noel, Dkt. 111-27;

       2.    A true and correct copy of video file 2117, see Exhibit 28 to the Declaration

             of Andrew J. Noel, Dkt. 111-28;

       3.    A true and correct copy of video file 1621, see Exhibit 29 to the Declaration

             of Andrew J. Noel, Dkt. 111-29;

       4.    A true and correct copy of video file 2206, see Exhibit 30 to the Declaration

             of Andrew J. Noel, Dkt. 111-30;

       5.    A true and correct copy of video file 2168, see Exhibit 31 to the Declaration

             of Andrew J. Noel, Dkt. 111-31;
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        6.    A true and correct copy of video file 2196 and accompanying clips, see

              Exhibit 32 to the Declaration of Andrew J. Noel, Dkt. 111-32;

        7.    A true and correct copy of video file 1857, see Exhibit 33 to the Declaration

              of Andrew J. Noel, Dkt. 111-33;

        8.    A true and correct copy of video file 2233 and accompanying clip, see

              Exhibit 34 to the Declaration of Andrew J. Noel, Dkt. 111-34;

        9.    A true and correct copy of video file 1187, see Exhibit 35 to the Declaration

              of Andrew J. Noel, Dkt. 111-35;

        10.   A true and correct copy of video file 2212 and accompanying clips, see

              Exhibit 36 to the Declaration of Andrew J. Noel, Dkt. 111-36;

        11.   A true and correct copy of video file 2258, see Exhibit 37 to the Declaration

              of Andrew J. Noel, Dkt. 111-37;

        12.   A true and correct copy of video file 2216 and accompanying clips, see

              Exhibit 38 to the Declaration of Andrew J. Noel, Dkt. 111-38;

        13.   A true and correct copy of video file 2215, see Exhibit 39 to the Declaration

              of Andrew J. Noel, Dkt. 111-39;

        14.   A true and correct copy of video file 2154 and accompanying clips, see

              Exhibit 40 to the Declaration of Andrew J. Noel, Dkt. 111-40;

        15.   A true and correct copy of video file 2048 and accompanying clip, see

              Exhibit 41 to the Declaration of Andrew J. Noel, Dkt. 111-41;

        16.   A true and correct copy of video file 2199 and accompanying clips, see

              Exhibit 42 to the Declaration of Andrew J. Noel, Dkt. 111-42;


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        17.   A true and correct copy of video file 2188 and accompanying clip, see

              Exhibit 43 to the Declaration of Andrew J. Noel, Dkt. 111-43;

        18.   A true and correct copy of video file 2202, see Exhibit 44 to the Declaration

              of Andrew J. Noel, Dkt. 111-44;

        19.   A true and correct copy of video file 2176, see Exhibit 45 to the Declaration

              of Andrew J. Noel, Dkt. 111-45;

        20.   A true and correct copy of video file 1687, see Exhibit 46 to the Declaration

              of Andrew J. Noel, Dkt. 111-46;

        21.   A true and correct copy of video file 1976, see Exhibit 47 to the Declaration

              of Andrew J. Noel, Dkt. 111-47; and

        22.   A true and correct copy of video file 2282, see Exhibit 48 to the Declaration

              of Andrew J. Noel, Dkt. 111-48.

        Plaintiff’s motion is based upon the accompanying Memorandum of Law and all

the files, records and proceedings herein.



                                                 Respectfully submitted,



Dated: February 11, 2025                         ROBINS KAPLAN LLP

                                                 s/Andrew J. Noel
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                                                 Marc E. Betinsky (#0388414)
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